              CASE 0:23-cr-00160-NEB-JFD               Doc. 1971     Filed 05/09/25     Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MINNESOTA

                                               SENTENCING
UNITED STATES OF AMERICA,                          )    COURT MINUTES - CRIMINAL
                                                   )
                         Plaintiff,                )    Case No:        23-cr-160 (37) (NEB/JFD)
                                                   )    Date:           May 9, 2025
                 v.                                )    Courthouse:     Minneapolis
                                                   )    Courtroom:      13W
LENEAL FRAZIER,                                    )    Court Reporter: Matt Moss
                                                   )    Time Commenced: 1:35 p.m.
                         Defendant.                )    Time Concluded: 2:15 p.m.
                                                   )    Time in Court:  40 minutes
                                                   )


Before Nancy E. Brasel, United States District Judge

APPEARANCES:

   For Plaintiff:      Albania Concepcion, Assistant U.S. Attorney
   For Defendant:      Brian Toder, CJA Appointed Attorney

 Sentencing.
 Defendant’s motion at ECF 1959 is denied as moot as stated on the record.
 Paragraphs 2 and 3 of the PSR shall be amended as stated on the record.



IT IS ORDERED:
Defendant is sentenced to:
  Count      Guilty                         BOP                                           SR
   Nos.       Plea

    11s         X                       150 months                                      5 years


    Special conditions of: See J&C for special condition.
    Counts 12s-14s are dismissed on motion by the Government.
    Special assessment in the amount of $100.00 due immediately.
    ECF no. 1959 shall remain restricted unless otherwise ordered by the Court. ECF 1666-1667 shall remain
   restricted until 5/9/30 (5 years)
    Defendant is remanded to the custody of the USM.


Date: May 9, 2025                                                     s/Kristine Wegner
                                                                      Courtroom Deputy to Judge Nancy E. Brasel
